                Case 21-10023-JTD              Doc 357       Filed 09/20/21         Page 1 of 2




                         IN THE UNITED STATES BANKRUPTCY COURT

                                 FOR THE DISTRICT OF DELAWARE


In re:                                                     ) Chapter 11
                                                           )
WARDMAN HOTEL OWNER, L.L.C., 1                             ) Case No.: 21-10023 (JTD)
                                                           )
                                   Debtor.                 ) RE: Docket No. 321
                                                           )


            ORDER PURSUANT TO BANKRUPTCY CODE SECTIONS 105 & 363
            AND BANKRUPTCY RULE 9019 APPROVING COMPROMISE AND
         SETTLEMENT OF CLAIMS AND CAUSES OF ACTION BY AND BETWEEN
           THE DEBTOR, MARRIOTT HOTEL SERVICES, INC., PACIFIC LIFE
              INSURANCE COMPANY AND PL WARDMAN MEMBER, LLC

                 Upon consideration of the Debtor’s Motion to Approve Compromise and

Settlement of Claims and Causes of Action by and between the Debtor, Marriott Hotel Services,

Inc., Pacific Life Insurance Company and PL Wardman Member, LLC (the “Motion”)2 filed by

the above-captioned debtor and debtor in possession (the “Debtor”), seeking approval of the

proposed global settlement (the “Settlement”) resolving disputes between the Debtor, Marriott

Hotel Services, Inc., Pacific Life Insurance Company, and PL Wardman Member, LLC; it

appearing that such relief is in the best interests of the Debtor, its estate, its creditors and other

parties in interest; and it appearing that this Court has jurisdiction over the Motion pursuant to 28

U.S.C. §§ 157 and 1334; and it appearing that this a core proceeding pursuant to 28 U.S.C. §

157(b)(2); and due and adequate notice of the Motion having been given under the



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    The last four digits of the Debtor’s U.S. tax identification number are 9717. The Debtor’s mailing address is
    5996 Mitchell Road, #16, Atlanta, GA 30328.
2
    Capitalized terms not otherwise defined herein shall have the meanings ascribed to them in the Motion.
                   Case 21-10023-JTD      Doc 357      Filed 09/20/21    Page 2 of 2




circumstances; and it appearing that no other notice need be given; and after due deliberation and

sufficient cause appearing therefor, IT IS HEREBY ORDERED THAT:

                   1.    The Motion is GRANTED.

                   2.    The Settlement, on the terms and conditions set forth in the Plan, is hereby

APPROVED.

                   3.    The Debtor is authorized to take such steps as may be reasonably necessary

to implement the terms of the Settlement.

                   4.    The Court shall retain jurisdiction (i) to issue any order necessary or

appropriate for the interpretation, implementation or enforcement of the Settlement, and (ii) over

any disputes related to the Settlement.




        Dated: September 20th, 2021                        JOHN T. DORSEY
        Wilmington, Delaware                               UNITED STATES BANKRUPTCY JUDGE



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